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 1

 2                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 3                                  AT SEATTLE
 4
        ESTATE OF VERL A. BRANTNER,
 5
                             Plaintiff,
 6                                                        C17-582 TSZ
            v.
 7
        OCWEN LOAN SERVICING, LLC; and                    MINUTE ORDER
 8      QBE INSURANCE CORPORATION,

 9                           Defendants.

10        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
11
           (1)   The stipulated motion, docket no. 37, brought by plaintiff Estate of Verl A.
12 Brantner and defendant QBE Insurance Corporation (“QBE”) is GRANTED and, in light
   of the settlement between these parties, plaintiff’s claims against QBE are DISMISSED
13 with prejudice and without costs.

14         (2)    This case shall henceforth be captioned as follows:

                         Estate of Verl A. Brantner,
15
                                          Plaintiff,
16                              v.
17                       Ocwen Loan Servicing, LLC,
                                          Defendant.
18
          (3)     The Clerk is directed to send a copy of this Minute Order to all counsel of
19 record.

20         Dated this 1st day of June, 2018.

21
                                                       William M. McCool
                                                       Clerk
22
                                                       s/Karen Dews
23
                                                       Deputy Clerk
     MINUTE ORDER - 1
